               Case 19-90115-MM                      Filed 10/02/19             Entered 10/02/19 15:44:27                 Doc 1            Pg. 1 of 8
B1040 (FORM 1040) (12/15)


                                                                                                         ADVERSARY PROCEEDING NUMBER
               ADVERSARY PROCEEDING COVER SHEET                                                          (Court Use Only)
                      (Instructions on Reverse)


 PLAINTIFFS                                                                         DEFENDANTS
 RICHARD M KIPPERMAN,                                                               VOLT MANAGEMENT CORP.,
 Chapter 7 Trustee                                                                  a Delaware corporation


 ATTORNEYS (Firm Name, Address, and Telephone No.)                                  ATTORNEYS (If Known)
 Timothy J. Truxaw, Esq. / Gary E. Slater, Esq.
 Slater & Truxaw, LLP
 15373 Innovation Dr., Suite 210
 San Diego, CA 92128
 Tel: (858) 675-0755 Fax: (858) 675-0733
 PARTY (Check One Box Only)                                  PARTY (Check One Box Only)
 □ Debtor              □    U.S. Trustee/Bankruptcy Admin    □ Debtor                □    U.S. Trustee/Bankruptcy Admin
 □ Creditor            □    Other                            x□ Creditor             □    Other
 □X Trustee                                                   □ Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 COMPLAINT FOR AVOIDANCE AND RECOVERY OF PREFERENTIAL TRANSFERS AND FOR DISALLOWANCE OF
 PROOF OF CLAIM [11 U.S.C. §§ 502, 547 AND 550]
                                                      NATURE OF SUIT
               (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)
      FRBP 7001(1) – Recovery of Money/Property                                           FRBP 7001(6) – Dischargeability (continued)



 ~                                                                                   ~
      11 - Recovery of money/property - § 542 turnover of property                        61 - Dischargeability - § 523(a)(5), domestic support
  X   12 - Recovery of money/property - § 547 preference                                  68 - Dischargeability - § 523(a)(6), willful and malicious injury
      13 - Recovery of money/property - § 548 fraudulent transfer                         63 - Dischargeability - § 523(a)(8), student loan
  X   14 - Recovery of money/property - other                                             64 - Dischargeability - § 523(a)(15), divorce or separation obligation
                                                                                               (other than domestic support)
      FRBP 7001(2) – Validity, Priority or Extent of Lien
                                                                                     □    65 - Dischargeability - other
 □    21 - Validity, priority or extent of lien or other interest in property
                                                                                          FRBP 7001(7) – Injunctive Relief
      FRBP 7001(3) – Approval of Sale of Property                                         71 - Injunctive relief - reinstatement of stay
 □    31 - Approval of sale of property of estate and of co-owner - § 363(h)         E3   72 - Injunctive relief - other

      FRBP 7001(4) – Objection/Revocation of Discharge                                    FRBP 7001(8) Subordination of Claim or Interest
 □    41 - Objection / revocation of discharge - § 727(c),(d),(e)
                                                                                     □    81 - Subordination of claim or interest

      FRBP 7001(5) – Revocation of Confirmation                                           FRBP 7001(9) Declaratory Judgment
 □    51 - Revocation of confirmation
                                                                                     □    91 - Declaratory judgment

      FRBP 7001(6) – Dischargeability                                                     FRBP 7001(10) Determination of Removed Action

 E3   66 - Dischargeability - § 523(a)(1),(14),(14A) priority tax claims
      62 - Dischargeability - § 523(a)(2), false pretenses, false                    □    01 - Determination of removed claim or cause

           representation, actual fraud                                                   Other
 □    67 - Dischargeability - § 523(a)(4), fraud as fiduciary, embezzlement,
           larceny                                                                   E3   SS-SIPA Case – 15 U.S.C. §§ 78aaa et.seq.
                                                                                          02 - Other (e.g. other actions that would have been brought in state
                          (continued next column)                                              court if unrelated to bankruptcy case)

      Check if this case involves a substantive issue of state law                        Check if this is asserted to be a class action under FRCP 23
 □                                                                                   □
      Check if a jury trial is demanded in complaint                                 Demand: N/A - see complaint
 □
 Other Relief Sought:

                                           BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
 NAME OF DEBTOR                                                                                        BANKRUPTCY CASE NO.
 CORE SUPPLEMENT TECHNOLOGY, INC.                                                                      17-06078-MM7


 DISTRICT IN WHICH CASE IS PENDING                                DIVISIONAL OFFICE                    NAME OF JUDGE
 Southern District of California                                                                       Hon. Margaret M. Mann




B1040
               Case 19-90115-MM           Filed 10/02/19        Entered 10/02/19 15:44:27            Doc 1      Pg. 2 of 8
B1040 (Page 2) (12/15)

                                               RELATED ADVERSARY PROCEEDING (IF ANY)
  PLAINTIFF                                         DEFENDANT                                      ADVERSARY PROCEEDING NO.




  DISTRICT IN WHICH ADVERSARY IS PENDING            DIVISIONAL OFFICE                 NAME OF JUDGE




  SIGNATURE OF ATTORNEY (OR PLAINTIFF)

  /s/ Timothy J. Truxaw


  DATE                              PRINT NAME OF ATTORNEY (OR PLAINTIFF)
  October 2, 2019                   Timothy J. Truxaw




                                                          INSTRUCTIONS

    The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of all of the
property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the jurisdiction of the
court so broad, there may be lawsuits over the property or property rights of the estate. There also may be lawsuits concerning the
debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary proceeding.

    A party filing an adversary proceeding must also complete and file Form 1040, the Adversary Proceeding Cover Sheet, unless
the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case Filing system
(CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When completed, the cover sheet
summarizes basic information on the adversary proceeding. The clerk of court needs the information to process the adversary
proceeding and prepare required statistical reports on court activity.

   The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings or other
papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-explanatory,
must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an attorney). A separate cover
sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and the defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and in the second column for the defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the plaintiff is
represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an attorney, the
plaintiff must sign.




B1040
Case 19-90115-MM       Filed 10/02/19      Entered 10/02/19 15:44:27            Doc 1   Pg. 3 of 8




 1   Gary E. Slater (State Bar No. 99141)
     Timothy J. Truxaw (State Bar No. 106428)
 2   SLATER & TRUXAW, LLP
     15373 Innovation Drive, Suite 210
 3   San Diego, CA 92128
     Email: tjt@slatertruxaw.com; ges@slatertruxaw.com
 4   Tel: (858) 675-0755 / Fax: (858) 675-0733
 5   Attorneys for Plaintiff, Richard M Kipperman, Chapter 7 Trustee
 6
 7
 8                               UNITED STATES BANKRUPTCY COURT
 9                               SOUTHERN DISTRICT OF CALIFORNIA
10   In re                                          )         Case No.: 17-06078-MM7
                                                    )
11                                                  )         Adv. Proceeding No.: __________________
     CORE SUPPLEMENT                                )
12   TECHNOLOGY, INC.,                              )         Chapter 7
                                                    )
13                                                  )         COMPLAINT FOR
                    Debtor.                         )         AVOIDANCE AND RECOVERY
14                                                  )         OF PREFERENTIAL TRANSFERS,
                                                    )         AND FOR DISALLOWANCE OF
15   RICHARD M KIPPERMAN,                           )         PROOF OF CLAIM
     Chapter 7 Trustee,                             )
16                                                  )         [11 U.S.C. §§ 502, 547 and 550]
                    Plaintiff,                      )
17                                                  )
     v.                                             )         Date:    None Set
18                                                  )         Time:    None Set
     VOLT MANAGEMENT CORP.,                         )         Dept:    One (Rm. 218)
19   a Delaware corporation,                        )         Judge:   Hon. Margaret M. Mann
                                                    )
20                  Defendant.                      )
                                                    )
21                                                  )
22           Richard M Kipperman, chapter 7 trustee (“Plaintiff”) of the bankruptcy estate of CORE
23   SUPPLEMENT TECHNOLOGY, INC. (“Debtor”), alleges as follows:
24                                               PARTIES
25           1.     On October 3, 2017 (the “Petition Date”), Debtor commenced the above-
26   captioned bankruptcy case (the “Case”) by the filing of its voluntary petition for relief under
27   chapter 11 of the Title 11, United States Code (the “Bankruptcy Code”). On April 2, 2018, the
28   above-captioned court (“Court”) entered its order converting the Case to a case under chapter 7


                                                        -1-                                 17-06078-MM7
Case 19-90115-MM        Filed 10/02/19     Entered 10/02/19 15:44:27          Doc 1    Pg. 4 of 8




 1   of the Code. Plaintiff was thereupon appointed and, at all times thereafter has been serving as
 2   chapter 7 trustee of Debtor’s bankruptcy estate (the “Estate”).
 3           2.     Plaintiff is informed and believes, and thereon alleges that, at all times herein
 4   mentioned, VOLT MANAGEMENT CORP., a Delaware corporation(“Defendant”), is and was a
 5   corporation organized and existing under the laws of the State of Delaware, and doing business
 6   in the States of New York and California.
 7                                            JURISDICTION
 8           3.     Plaintiff commences this adversary proceeding pursuant to Rule 7001 of the
 9   Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), seeking relief pursuant to,
10   inter alia, §§ 547, 550 and 502(d) of the Bankruptcy Code to avoid and recover preferential
11   transfers made by the Debtor to or for the benefit of Defendant, and to cause the disallowance of
12   any proof(s) of claim filed by or for the benefit of Defendant against the Estate.
13           4.     The Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.
14   §§ 157 and 1334, and General Order 312-D of the United States District Court for the Southern
15   District of California.
16           5.     This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A),
17   (B), (C) and (F) in that, inter alia, this is a proceeding to determine, avoid or recover preferential
18   transfers under Bankruptcy Code §§ 547 and 550, and for disallowance of a claim under
19   Bankruptcy Code § 502(d).
20                                                 VENUE
21           6.     Venue of this adversary proceeding is proper under 28 U.S.C. § 1409 in that this
22   proceeding arises in or relates to the Case which is now pending in the Court.
23                                     FIRST CLAIM FOR RELIEF
24                       (Avoidance of Preferential Transfers - 11 U.S.C. § 547)
25           7.     Plaintiff realleges and incorporates by this reference paragraphs 1 through 6 of
26   this complaint as though fully set forth herein.
27           8.     Plaintiff is informed, believes and thereon alleges, based upon Plaintiff’s review
28   and investigation of financial and banking records of the Debtor and financial institutions with


                                                        -2-                                 17-06078-MM7
Case 19-90115-MM         Filed 10/02/19     Entered 10/02/19 15:44:27       Doc 1     Pg. 5 of 8




  1   which Debtor conducted business at times relevant to the transfers refeITed to herein, that within

 2    the ninety (90) days prior to the Petition Date, Defendant received from Debtor on account of

  3   Debtor's antecedent debt to Defendant, directly and/or by payments for Defendant's benefit, the

 4    following sums totaling $ 11 8,555.71 (together, the "Preference Period Transfers"):

  5                  Check No.       Payment Date            Payment Amount

 6                   #58278          07/10/2017              $ 17,119.65

 7                   #58339          07/14/2017              $13,680.70

  8                  #58354          07/20/2017              $13,028.58

 9                   #58392          07/26/2017              $ 15,865.55

 10                  #5 8445         08/04/2017              $ 8,743.78

 11                  #58497          08/18/2017              $ 9,819.39

 12                  #58535          08/23/2017              $ 7,514.95

 13                  #58621          09/ 15/2017             $ 10,388.62

 14                  #58640          09/18/2017              $ 11,605.70

 15                  #58665          09/26/2017              $ 10,788.79

 16           9.     Plaintiff is info1med, believes and thereon alleges, and pursuant to applicable law

 17   Defendant is presumed to have been for purposes of this claim, insolvent at the times when each

 18   of the Preference Period Transfers was made to or for the benefit of Defendant.

 19           10.    TI1e effect of each of the Preference Period Transfers was to enable Defendant to

20    receive more than Defendant would receive under chapter 7 of the Bankrnptcy Code if the

21    Preference Period Transfers had not been made and Defendant received payment on account of

22    such debt to the extent pennitted under the Bankrnptcy Code.

23            11.    Plaintiff has demanded that Defendant account for and repay the Preference

24    Period Transfers, but Defendant has failed and refused, and continues to fail and refuse to repay

25    to the Estate any or all of the Preference Period Transfers.

26            12.    TI1e Preference Period Transfers, and each of them, were avoidable preferential

27    transfers pursuantto 11 U.S.C. § 547.

28    /././


                                                       -3-                                17-06078-MM7
Case 19-90115-MM         Filed 10/02/19     Entered 10/02/19 15:44:27               Doc 1    Pg. 6 of 8




  1                                   SECOND CLAIM FOR RELIEF

  2                 (Recovery of Avoided Transfers or Value Thereof-11 U.S.C. § 550)

  3           13.     Plaintiff realleges and inco1porates by this reference paragraphs 1 through 12 of

  4   this complaint as though fully set forth herein.

  5           14.     Plaintiff is info1med, believes and thereon alleges that, upon avoidance of each of

 6    the Preference Period Transfers, Plaintiff is and will be entitled, pursuant to 11 U.S.C. § 550, to

  7   recover for the benefit of the Estate the mon ey or prope1ty transfen ed or, if the Court so orders,

  8   the value of such money or prope1ty, from: (a) the initial transferee of each such transfer (or such

  9   person, ttust or entity for whose benefit each such trnnsfer was made); or (b) any immediate or

 10   mediate transferee of such initial transferee.

 11                                    THIRD CLAIM FOR RELIEF

 12                      [Disallowance of Claims Pursuant to 11 U.S.C. § 502(d)]

 13           15.     Plaintiff realleges and inco1porates by this reference para.graphs 1 through 14 of

 14   this complaint as though fully set forth herein.

 15           16.     Defendant is a transferee of an avoidable preferential transfer under 11 U.S.C. §

 16   547.

 17           17.     Defendant has failed and refused to      h 1111   over money and/or prope1ty for which

 18   Defendant is liable to the Estate under applicable law, including 11 U.S.C. §§ 547 and 550.

 19           18.     Pursuant to 11 U.S.C. § 502(d), Plaintiff is entitled to a judgment as prayed herein

20    and disallowing any and all Claims by or tluough Defendant against the Estate, including but not

21    limited to that proof of clain1 filed on 12/ 11/2017 refened to herein as Claim #25- 1 in the amount

22    of $ 114,432.16, and any amendment or supplement thereto.

23                                      RESERVATION OF RIGHTS

24            19.     Plaintiff reserves his right to supplement and/or amend any of the allegations

25    contained in this complaint, including without limitation the right to (i) allege further information

26    regarding any or all of the Preference Period Transfers; (ii) make modifications and/or revisions

27    to Defendant's name(s); (iii) allege claims against additional defendants, including without

28    limitation initial, mediate or other transferees and/or conduits by or through which any of such


                                                         -4-                                     17-06078-MM?
Case 19-90115-MM         Filed 10/02/19      Entered 10/02/19 15:44:27          Doc 1    Pg. 7 of 8




  1   transfers were made, including without limitation Defendant's agents, affiliates, subsidiaries,

 2    parent companies, or attorneys; and/or (iv) allege additional causes of action arising under 11

  3   U.S.C. §§ 542, 544, 545, 547, 548, 549 and 550; (collectively, the "Amendments"), that may

 4    become known dming the comse of this adversa1y proceeding through investigation, fo1mal

  5   discove1y or othe1wise, and for the Amendments to relate back to the date of filing of this

 6    original complaint.

 7            20.     To any extent that Defendant, or any of Defendant's subsidiaries, parent

  8   companies, transferees, successors, predecessors, agents or affiliates, has filed proof(s) of claim

 9    or have claims listed on Debtor's schedules as undisputed, liquidated and not contingent, or have

 10   othe1wise requested payment from the Debtor or this Estate (collectively, "Claims"), this

 11   complaint is not intended to be, nor shall it be constmed as, a waiver of Plaintiffs right to object

 12   to any of such Claims for any reason including, but not limited to, 11 U.S.C. § 502, and all such

 13   rights are expressly rese1ved. Notwithstanding this rese1vation of rights, ce11ain relief pursuant

 14   to 11 U.S.C. § 502(d) is sought by th.is complaint.

 15                                         PRAYER FOR RELIEF'

 16           WHEREFORE, Plaintiff requests that the Court enter relief and judgment in his favor,

 17   for the benefit of the Estate, and against Defendant as follows:

 18   On the First Claim for Relief:

 19           1.      For a dete1mination that each of the Preference Period Transfers was a preferential

20    transfer within the meaning of 11 U.S.C. § 547; and

21            2.      For a judgment against Defendant avoiding each of the Preference Period

22    Transfers for the benefit of the Estate in the aggregate amount of not less than $118,555.71, plus

23    any additional amounts for which Defendant is liable or indebted to Plaintiff according to proof.

24    On the Second Clain1 for Relief:

25            1.      For a dete1mination and judgment that, upon avoidance of each of the Preference

26    Period Transfers, Plaintiff is entitled, pursuant to 11 U.S.C. § 550, to recover for the benefit of

27    the Estate the money or prope11y transfe1Ted or, if the Court so orders, the value of such money or

28    prope11y, from: (a) the initial transferee of each such transfer (or such person, trust or entity for


                                                        -5-                                   17-06078-MM7
Case 19-90115-MM            Filed 10/02/19   Entered 10/02/19 15:44:27          Doc 1     Pg. 8 of 8




  1   whose benefit each such transfer was made); or any immediate or mediate transferee of such

  2   initial transferee.

  3   On the TI1ird Claim for Relief:

  4           1.      For a detennination and judgment disallowing all of Defendant's Claims against

  5   the Debtor's Estate pursuant to 11 U.S.C. §§ 502(b)(l) and 502(d).

  6   On All Claims for Relief:

  7           1.      For pre-judgment and post-judgment interest on each of the amounts detemlined

  8   to be avoidable as fraudulent and/or preferential transfers herein, for attorney' s fees, costs of suit,

  9   post-judgment collection costs, and all other legal and/or equitable relief allowed by law.

 10   Dated: October 2, 2019                          SLATER & TRUXAW, LLP

 11

 12                                                   By:   Isl Timothv J Truxaw
                                                             Timothy J. Tmxaw
 13                                                   Attorneys for Richard M Kippennan,
 14                                                   Chapter 7 Trnstee, Plaintiff

 15

 16

 17

 18

 19

20

21

22

23

24

25

26

27

28


                                                        -6-                                   17-06078-MM7
